                             UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF NORTH CAROLINA
                                FAYETTEVILLE DIVISION
                                               No.  3:93-CR-58-2BR


UNITED STATES OF AMERICA                         )
                                                 )
                                                 )
               v.                                )           ORDER
                                                 )
ODELL THOMAS                                     )


       This matter is before the court on defendant’s motion for a sentence reduction pursuant to

18 U.S.C. § 3582(c)(2).

       This statute permits a court to modify an imposed term of imprisonment when the

Sentencing Commission has subsequently lowered the defendant’s applicable guideline range “if

such a reduction is consistent with the applicable policy statements issued by the Sentencing

Commission.” 18 U.S.C. § 3582(c)(2). U.S.S.G. § 1B1.10 is the relevant policy statement

providing guidance to the court when considering a motion under 18 U.S.C. § 3582(c)(2). Under

this policy statement, a reduction is not authorized if the amendment “does not have the effect of

lowering the defendant’s applicable range” due to “the operation of another guideline or

statutory provision.” U.S.S.G. § 1B1.10(a)(2)(B) & cmt. n.1(A)(ii).

       Here, defendant relies on the recent guideline amendment relating to the offense level for

crack cocaine offenses, Amendment 706. Defendant was convicted of several crack-related

offenses, including distribution of crack in violation of 21 U.S.C. § 841(a)(1). Even so,

defendant’s base offense level was determined by reference to U.S.S.G. § 4B1.1, which pertains

to career offenders. The court did not rely on the guideline for determining the offense level of

distribution of a controlled substance, U.S.S.G. § 2D1.1, which Amendment 706 affected.




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Amendment 706 does not have any effect on the career offender guideline pursuant to which the

court determined defendant’s offense level, and therefore, does not have the effect of lowering

defendant’s guideline range. Under such circumstances, the court will not reduce defendant’s

sentence.

               The Fourth Circuit has firmly agreed with this analysis, holding in
               similar cases that while the “base offense level corresponding to
               the determined drug quantity would be lower as a result of
               Amendment 706, the amendment is ultimately of no consequence
               because calculation of [defendant's] base offense level was driven
               by the career offender designation,” United States v. Bronson,
               2008 WL 539796, at *3 (4th Cir. February 27, 2008); see also
               United States v. Gray, 2008 WL 895012, at *2 (4th Cir. April 2,
               2008).

United States v. Plater, No. PJM 97-0408, 2008 WL 2543435, at *2 (D. Md. June 24, 2008); see

also United States v. Caraballo, 552 F.3d 6, 11 (1st 2008); United States v. Moore, 541 F.3d

1323, 1330 (11th Cir. 2008);United States v. Sharkey, 543 F.3d 1236, 1239 (10th Cir. 2008);

United States v. Thomas, 524 F.3d 889, 889-90 (8th Cir. 2008); United States v. Tyler, No. 08-

6991, 2008 WL 5069532, *1 (4th Cir. Nov. 26, 2008).

       The motion for a sentence reduction is DENIED.

       This 24 February 2009.




                                             __________________________________
                                                   W. Earl Britt
                                                   Senior U.S. District Judge




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